        Case 2:22-cv-05941-JMA-JMW Document 4 Filed 10/05/22 Page 1 of 2 PageID #: 23

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                   Eastern District
                                                 __________         of New
                                                             District       York
                                                                       of __________

                        Silvio Richetti,                          )
                                                                  )
                                                                  )
                                                                  )
                            Plaintiff(s)                          )
                                                                  )
                                v.                                        Civil Action No. 2:22-cv-05941-JMA-JMW
                                                                  )
Delivery Drivers, Inc., National Driver Solutions, LLC,           )
       Aaron A. Hageman, and Noel Aronson,
                                                                  )
                                                                  )
                                                                  )
                           Defendant(s)                           )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                       Delivery Drivers, Inc.: 9008 Research Drive, 2nd Floor Irvine, CA 92618
                                       National Driver Solutions, LLC: 1500 Walnut Street 22nd Floor Philadelphia PA 19102
                                       Aaron A. Hageman: 233 Nyes Pl Laguna Beach, CA 92651-3974
                                       Noel Aronson: 406 Fleming St Apt B Key West, FL 33040-6529




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Mohammed Gangat, Esq.
                                       675 Third Avenue, Suite 1810
                                       New York, NY 10017




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                             Brenna B. Mahoney
                                                                            CLERK OF COURT


Date:         10/5/2022
                                                                                       Signature off C
                                                                                                     Clerk
                                                                                                       lerk or Deputy Clerk
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 Civil Action No. 2:22-cv-05941-JMA-JMW

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
